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   5
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   6    Natural Care, Inc.
   7

   8

   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                    Plaintiff,         PLAINTIFF THRIVE NATURAL
                                           CARE, INC.’S PROFFER OF
  14          v.                           EXPERT OPINIONS OF ROB
                                           WALLACE
  15    THRIVE CAUSEMETICS, INC.,
                                           Hon. Percy Anderson
  16                    Defendant.
                                           Judge: Hon. Percy Anderson
  17                                       Trial Date: November 9, 2021
                                           Final Pretrial Conf.: October 22, 2021
  18                                       Courtroom: 9A
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                                                            PLAINTIFF’S PROFFER OF EXPERT
                                                                OPINIONS RE: ROB WALLACE
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   1                              INDEX OF EXHIBITS
   2   Exhibit
   3   1.    Rob Wallace Curriculum Vitae
   4   2.    Opening Expert Report of Rob Wallace
   5   3.    Rebuttal Report of Rob Wallace
   6   4.    Consumer Survey Questions and Screenshots
   7   5.    Consumer Survey Data Tabulation and Analysis Files
   8   6.    Itamar Simonson, “The Effect Of Survey Method On Likelihood Of
   9         Confusion Estimates: Conceptual Analysis And Empirical Test,” The
  10         Trademark Reporter, 83 TMR 364 (1993)
  11   7.    TCI_00014426
  12   8.    TCI_00026950 (product history)
  13   9.    TNC01154-59
  14   10.   TNC01128
  15   11.   TNC01160-61
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                                                             PLAINTIFF’S PROFFER OF EXPERT
                                                                 OPINIONS RE: ROB WALLACE
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   1         Pursuant to the Court’s Order dated October 8, 2021 (Dkt. 115), Plaintiff
   2   Thrive Natural Care, Inc. (“Thrive” or “Plaintiff”) hereby provides the following
   3   written proffer of the opinions of Rob Wallace, which Thrive will seek to offer in
   4   its case-in-chief at trial against Defendant Thrive Causemetics, Inc. (“TCI” or
   5   “Defendant”). The exhibits listed above have been provided to the Court and
   6   opposing counsel separately in accordance with the Court’s Order.
   7                                   Proffer of Opinions
   8         Opinion 1: The results of two consumer surveys show there is significant
   9   actual confusion between Plaintiff’s “Thrive” brand of skincare products and
  10   Defendant’s “Thrive Causemetics” brand of skincare products. Specifically, Mr.
  11   Wallace conducted two surveys to examine whether or not consumers or potential
  12   consumers of skincare products who purchase such items on the internet would be
  13   confused between the parties’ skincare products. The surveys tested “Thrive”
  14   branded skincare products from Plaintiff (both older and newer package designs)
  15   and “Thrive Causemetics” branded skincare products from Defendant, together
  16   with two skincare products from third parties, which were used as controls. The
  17   findings of the old package survey showed a net confusion rate of 56.6% between
  18   Plaintiff’s “Thrive” skincare product and Defendant’s “Thrive Causemetics”
  19   skincare product, after being corrected for the average level of confusion observed
  20   between the Plaintiff’s products and the two control brands. The findings of the
  21   new package survey showed a degree of net confusion of 54.5% between Plaintiff’s
  22   “Thrive” skincare product and Defendant’s “Thrive Causemetics” skincare product,
  23   after being corrected for the average level of confusion observed between Plaintiff’s
  24   products and the two control brands. See Ex. 2 at 2-4, 29-37.
  25         Why Testimony is Relevant: Consumer survey evidence is relevant to the
  26   “actual confusion” Sleekcraft factor. See Playboy Enters., Inc. v. Netscape Comm.
  27   Corp., 354 F.3d 1020, 1026 n.28 (9th Cir. 2004) (courts regularly accept the results
  28   of consumer surveys as surrogate evidence of actual confusion). The rates of
                                                                  PLAINTIFF’S PROFFER OF EXPERT
                                                                      OPINIONS RE: ROB WALLACE
                                                 -2-                   Case No. 2:20-CV-09091-PA-AS
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   1   confusion in Thrive’s surveys are “persuasive evidence” of likely confusion. 6 J.
   2   Thomas McCarthy, McCarthy on Trademarks & Unfair Competition § 32:188
   3   (confusion levels over 50 percent are “persuasive evidence” of likely confusion));
   4   Warner Bros. Ent. v. Glob. Asylum, Inc., No. CV 12-9547 PSG, 2012 WL 6951315,
   5   at *10 (C.D. Cal. Dec. 10, 2012) (“Generally, confusion levels of 25 to 50 percent
   6   provide ‘solid support’ for a finding of likelihood of confusion, while confusion
   7   rates below 20 percent support a finding of confusion only in connection with other
   8   corroborating evidence.”).
   9         Documents Relied On:
  10                  Ex. 4 – Consumer survey questions and pages prepared by Mr.
  11                    Wallace, relied on June 23, 2021, for Opening Report.
  12                  Ex. 5 – Raw data and tables for responses to Wallace surveys,
  13                    including the following documents prepared by Mr. Wallace: (a)
  14                    Thrive New Image Final Data 6-4-21.xlsx; (b) Thrive New Image
  15                    Compare Tabs 6-4-21.xlsx; (c) Thrive New Image Final Freqs 6-4-
  16                    21.xlsx; (d) Thrive Old Image Final Data 6-4-21.xlsx; (e) Thrive
  17                    Old Image Compare Tabs 6-4-21.xlsx; and (f) Thrive Old Image
  18                    Final Freqs 6-4-21.xlsx, relied on June 23, 2021, for Opening
  19                    Report.
  20         Opinion 2: Consumer survey responses indicate that Defendant’s use of the
  21   term “Thrive Tribe,” which had been used by Plaintiff for years previously, also
  22   created confusion between the parties’ brands. Specifically, Mr. Wallace’s surveys
  23   tested consumer confusion caused by each of Plaintiff and Defendant using the hash
  24   tag #THRIVETRIBE together with an image of a skincare product in its Instagram
  25   posts. The results of this survey question indicated that 80.2% of respondents in the
  26   old package survey and 78.3% of respondents in the new package survey believed
  27   this action caused further confusion between the parties’ skincare products. See Ex.
  28   2 at 37-38.
                                                                  PLAINTIFF’S PROFFER OF EXPERT
                                                                      OPINIONS RE: ROB WALLACE
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   1         Why Testimony is Relevant: Thrive Natural Care used the term “Thrive
   2   Tribe” and related hash tag to advertise its products since 2014. Thrive Causemetics
   3   used the same term to advertise its products from 2017 to mid-2020. This survey
   4   evidence further supports the “actual confusion” Sleekcraft factor as noted above.
   5         Documents Relied On:
   6                 Ex. 4 – Consumer survey questions and pages prepared by Mr.
   7                   Wallace, specifically page 53 of each survey, relied on June 23,
   8                   2021, for Opening Report.
   9                 Ex. 5 – Raw data and tables for responses to Wallace surveys,
  10                   including the following documents prepared by Mr. Wallace: (a)
  11                   Thrive New Image Final Data 6-4-21.xlsx; (b) Thrive New Image
  12                   Compare Tabs 6-4-21.xlsx; (c) Thrive New Image Final Freqs 6-4-
  13                   21.xlsx; (d) Thrive Old Image Final Data 6-4-21.xlsx; (e) Thrive
  14                   Old Image Compare Tabs 6-4-21.xlsx; and (f) Thrive Old Image
  15                   Final Freqs 6-4-21.xlsx, relied on June 23, 2021, for Opening
  16                   Report.
  17                 Ex. 7 – TCI_00014426 (document produced by Defendant), relied
  18                   on June 23, 2021, for Opening Report.
  19         Opinion 3: The Squirt-type format for the consumer surveys used by Mr.
  20   Wallace is the proper methodology to use in this case, where the parties’ products
  21   frequently appear together and side-by-side on the same screen in advertising and
  22   online marketplaces. See Ex. 2 at 8 ¶ 23; Ex. 3 at 3-4, 6-13.
  23         Why Testimony is Relevant: The Ninth Circuit has held that surveys in
  24   identical formats to that used by Mr. Wallace are admissible and probative of actual
  25   confusion. See Fortune Dynamic, Inc. v. Victoria's Secret Stores Brand Mgmt., Inc.,
  26   618 F.3d 1025, 1037 (9th Cir. 2010); Thane Int'l, Inc. v. Trek Bicycle Corp., 305
  27   F.3d 894, 902-03 (9th Cir. 2002).
  28         Documents Relied On:
                                                                   PLAINTIFF’S PROFFER OF EXPERT
                                                                       OPINIONS RE: ROB WALLACE
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   1                 Ex. 2 at 9 – Screenshot of eBay marketplace taken by Mr. Wallace,
   2                   relied on June 23, 2021, for Opening Report.
   3                 Ex. 3 – attached Exhibits A-C (screenshots of search results) taken
   4                   by Mr. Wallace, Alex McIntosh, and Plaintiff’s counsel, relied on
   5                   August 25, 2021, for Rebuttal Report.
   6                 Ex. 6 – Itamar Simonson, “The Effect Of Survey Method On
   7                   Likelihood Of Confusion Estimates: Conceptual Analysis And
   8                   Empirical Test,” The Trademark Reporter, 83 TMR 364 (1993),
   9                   relied on August 25, 2021, for Rebuttal Report.
  10                 Testimony by Dr. Simonson in Defendant’s Rebuttal Expert
  11                   Report.
  12         Opinion 4: Consumers are likely to seek out Plaintiff’s products via an
  13   online search for terms like “Thrive skincare” and “Thrive Natural Care”. This is
  14   backed by empirical evidence indicating that 85% of all product shopping starts on
  15   Google or Amazon. Far from being a low probability that a consumer would ever
  16   go to Google or Amazon and perform a search for “thrive skincare” or something
  17   similar, it is actually the most common method a consumer would use to begin the
  18   process of purchasing Plaintiff’s or Defendant’s skincare products. See Ex. 3 at 12
  19   28; see also Dkt. 58 ¶¶ 8-13.
  20         Why Testimony is Relevant: The “parties’ simultaneous use of the Web as a
  21   marketing channel” is highly supportive of finding a likelihood of confusion. See
  22   Perfumebay.com Inc. v. eBay, Inc., 506 F.3d 1165, 1173-74 (9th Cir. 2007). This
  23   testimony further supports that consumers are likely to see the parties’ products
  24   together on the same screen, which is relevant to initial interest confusion. See
  25   Electropix v. Liberty Livewire Corp., 178 F. Supp. 2d 1125, 1130 (C.D. Cal. 2001)
  26   (“the use of another’s trademark in a manner calculated to capture initial consumer
  27   attention, even though no actual sale is finally completed as a result of the
  28   confusion, may be still an infringement.”).
                                                                   PLAINTIFF’S PROFFER OF EXPERT
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   1         Documents Relied On:
   2                 Ex. 3 – attached Exhibits A-C (screenshots of search results) taken
   3                   by Mr. Wallace, Alex McIntosh, and Plaintiff’s counsel, relied on
   4                   August 25, 2021, for Rebuttal Report.
   5                 Ex. 3 – attached Exhibit D, Kyle Cavaness, “Google Shopping
   6                   Statistics: 21 Reasons to Get Started,” Klientboost.com (last visited
   7                   August 20, 2021), obtained by Mr. Wallace and relied on August
   8                   25, 2021, for Rebuttal Report.
   9                 Personal experience in working with consumer skincare brands
  10                   such as Jergen’s, Dove, St. Ives, Suave, Burt’s Bees, and others,
  11                   including conducting market research regarding consumer purchase
  12                   decisions in the skincare category and understanding consumer
  13                   brand awareness and purchase behavior. This included providing
  14                   strategic direction on their brand messaging that was then used to
  15                   integrate advertising, social media, promotion, and all other brand
  16                   messaging, as well as developing, fielding, and/or analyzing over
  17                   one thousand consumer surveys and research projects. See Ex. 2 at
  18                   42 ¶¶ 13, 91; see also Dkt. 42 ¶ 5 (Wallace Declaration).
  19         Opinion 5: Consumer searching on the major search engines for Plaintiff’s
  20   “Thrive” skincare products would almost certainly be presented with images of
  21   both parties’ skincare products and links to both parties’ websites and purchase
  22   portals. Even a consumer who conducted a more targeted search for Plaintiff’s
  23   company name and men’s products from Plaintiff would be likely to be presented
  24   with images of Defendant’s products together with Plaintiff’s. Moreover, in the
  25   product descriptions provided in online search results, Defendant’s primary product
  26   name only shows “Thrive [product name]”, e.g., “Thrive Skincare Set” and does
  27   not include the word “Causemetics”. In many cases, “Causemetics” is not even
  28   fully spelled out in the product description. The focus is clearly on the word
                                                                   PLAINTIFF’S PROFFER OF EXPERT
                                                                       OPINIONS RE: ROB WALLACE
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   1   “Thrive” for both Plaintiff’s and Defendant’s products. When Defendant’s
   2   products, also referred to as “Thrive” products are shown together, side-by-side,
   3   and intermingled with Plaintiff’s products in the search results, it is likely a
   4   consumer could be confused and click on links to Defendant’s products believing
   5   them to originate from or be affiliated with Plaintiff. See Ex. 3 at 12 ¶ 29; see also
   6   Dkt. 58 ¶¶ 8-13.
   7         Why Testimony is Relevant: This testimony supports a finding of initial
   8   interest confusion. See Electropix, 178 F. Supp. 2d at 1130.
   9         Documents Relied On:
  10                 Ex. 3 – attached Exhibits A-C (screenshots of search results) taken
  11                    by Mr. Wallace, Alex McIntosh, and Plaintiff’s counsel, relied on
  12                    August 25, 2021, for Rebuttal Report.
  13                 Ex. 3 – attached Exhibit D, Kyle Cavaness, “Google Shopping
  14                    Statistics: 21 Reasons to Get Started,” Klientboost.com (last visited
  15                    August 20, 2021), obtained by Mr. Wallace and relied on August
  16                    25, 2021 for Rebuttal Report.
  17                 Personal experience in working with consumer skincare brands
  18                    identified supra for Opinion 4. See Ex. 2 at 42 ¶¶ 13, 91; see also
  19                    Dkt. 42 ¶ 5.
  20         Opinion 6: The standard of consumer care for the skincare products in
  21   question would be relatively low. The products in question are relatively
  22   inexpensive, and the skincare category is often driven by impulse purchasing, rather
  23   than a highly educated and well-considered purchase process. This lower degree of
  24   care driving which products to purchase results in a higher degree of the consumer
  25   unintentionally purchasing a potentially confusing product assuming it to be the
  26   product they intended to buy. See Ex. 2 at 42 ¶ 91.
  27         Why Testimony is Relevant: The “degree of care” of ordinary consumers is a
  28   relevant Sleekcraft factor, and this testimony establishes that consumers in this
                                                                     PLAINTIFF’S PROFFER OF EXPERT
                                                                         OPINIONS RE: ROB WALLACE
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   1   market are likely to have a lower degree of care in selecting products. See Pom
   2   Wonderful LLC v. Hubbard, 775 F.3d 1118, 1127 (9th Cir. 2014).
   3          Documents Relied On:
   4                Ex. 8 – TCI_00026950 (document produced by Defendant), relied
   5                   on June 23, 2021, for Opening Report.
   6                Ex. 9 – TNC01154-59 (screenshot of Defendant’s skincare
   7                   navigation page with pricing taken by Plaintiff’s counsel), relied on
   8                   June 23, 2021, for Opening Report.
   9                Ex. 10 – TNC01128 (screenshot of Defendant’s skincare product
  10                   page with pricing taken by Plaintiff’s counsel), relied on June 23,
  11                   2021, for Opening Report.
  12                Ex. 11 – TNC01160-61 (screenshot of Plaintiff’s website with
  13                   pricing taken by Alex McIntosh), relied on June 23, 2021, for
  14                   Opening Report.
  15                Personal experience in working with consumer skincare brands
  16                   identified supra for Opinion 4. See Ex. 2 at 42 ¶¶ 13, 91; see also
  17                   Dkt. 42 ¶ 5.
  18         Thrive reserves the right to call Mr. Wallace in rebuttal to any testimony
  19   offered by Defendant TCI.
  20
        DATED: October 15, 2021                    Respectfully submitted,
  21
                                                   THE MCARTHUR LAW FIRM, PC
  22

  23                                               By: /s/ Stephen McArthur
                                                       Stephen McArthur
  24                                                   Thomas Dietrich
  25                                                   Attorneys for Plaintiff Thrive
                                                       Natural Care
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                                                                  PLAINTIFF’S PROFFER OF EXPERT
                                                                      OPINIONS RE: ROB WALLACE
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   1                              CERTIFICATE OF SERVICE
   2   Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
       Case No.: 2:20-cv-9091-PA-AS
   3
       IT IS HEREBY CERTIFIED THAT:
   4
              I, the undersigned, declare under penalty of perjury that I am a citizen of the
   5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
       Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
   6
                I have caused service of the following documents, described as:
   7
       PLAINTIFF THRIVE NATURAL CARE, INC.’S PROFFER OF EXPERT
   8   OPINIONS OF ROB WALLACE
   9   on the following parties by electronically filing the foregoing on October 15, 2021,
       with the Clerk of the District Court using its ECF System, which electronically
  10   notifies them.
  11   Rollin Ransom (SBN 196126)                     Attorneys for Defendant
       rransom@sidley.com
  12   Ryan Stasell (SBN 307431)
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  13   Paula Salazar (SBN 327349)
       psalazar@sidley.com
  14   SIDLEY AUSTIN LLP
       555 West Fifth St., Ste. 4000
  15   Los Angeles, CA 90013
  16   I declare under penalty of perjury under the laws of the United States of America
       that the foregoing is true and correct.
  17

  18
        Date:     10/15/2021               By: /s/ Thomas Dietrich
  19                                           Thomas Dietrich
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                                                                   PLAINTIFF’S PROFFER OF EXPERT
                                                                       OPINIONS RE: ROB WALLACE
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